Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 1 of 39 PagelD #:1
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IN THE UNITED STATES DISTRICT COURT Micuan, 4
NORTHERN DISTRICT OF ILLINOIS CLERK y « 1 pon,

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MAUREEN THERESE KENNY

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Plaintiff, ) 02C

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Vv.

JUDGE ba sate MONET.

JURY TRIAL DEMANDED

LOYOLA UNIVERSITY OF CHICAGO
Defendant

 

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COMPLAINT - COUNT I
NATURE OF THE ACTION

1. Count I is brought against Loyola University of Chicago
(“Loyola”) under Title III of the Americans With Disabilities Act
of 1990 (the “ADA”) and Title I of the Civil Rights Act of 1991.

2. For purposes of Count I, The ADA at 42 U.S.C. 12182 (a)
effective January 26, 1992 provides as follows:

No individual shall be discriminated against on the basis of
disability in the full and equal enjoyment of the goods, services,
facilities, privileges, advantages, or accommodations of any place
of public accommodation by any person who owns, leases (or leases
to), or operates a place of public accommodation.

3. Count I is an action against defendant for its failure to
provide public accommodation for disabled students in accordance
with the ADA.

JURISDICTION AND VENUE

4, Jurisdiction of this Court for Count I is invoked
pursuant to 28 U.S.C. Sections 451, 1331, 1337, 1343, and 1345 and
42 U.S.C. 12101 et seq. 42 U.S.C. 12133 provides that the

remedies, procedures and rights set forth in section 794a of Title

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Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 2 of 39 PagelD #:2

29 shall be the remedies, procedures and rights this sub-chapter
provides to any person alleging discrimination on the basis of
disability in violation of section 12132 of this Title. That
statute in turn incorporates the remedies, procedures and rights
set forth in section 717 of the Civil Rights Act at 42 U.S.C.
2000e-16. And the remedies at 42 U.S.C. 2000d et seq for any person
aggrieved by any act by any recipient of Federal assistance or
Federal provider of such assistance under section 794 of title 29.

5. Plaintiff, Maureen Therese Kenny, ("Kenny") is a citizen
of the United States and is a resident of Cook County, State of
Illinois.

6. Loyola University of Chicago does business in the
Northern District of Illinois, maintains Simpson Hall and Kenmore
Hall as residence dormitories for students in the Northern District
of Illinois, and is the District in which the Loyola maintains its
principal administrative business office.

7. Plaintiff was enrolled as a part-time student of Loyola
University in its paralegal program beginning in August of 2000.
PARTIES

8. Loyola University of Chicago ("Loyola") is an employer in
Cook County, Illinois and at all times relevant to this complaint
has employed more than 500 employees in the United States.

9. At all relevant times Loyola has continuously been
engaged in an industry affecting commerce within the meaning of
Section 101({5) of the ADA, 42 U.S.C. Section 12181, and Section

107(7) of the ADA, 42 U.S.C, Section 12117(7), which incorporates
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 3 of 39 PagelD #:3

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by reference Sections 701(g) and (h) of Title VII, 42 U.s.c.
Section 2000e(g) and (h).

10. At all relevant times Loyola has been a covered entity
under Section 101{2) of the ADA, 42 U.S.C. Section 12111(2).

11. At all relevant times, Loyola has been a post graduate
private school or other place of education within the meaning of 42
U.S.C. Section 12181(7) (J).

12. At all times during from August 21, 2000 to the present,
defendant owned or leased Simpson Hall and Kenmore Hall for the
purpose of providing dormitory living quarters for students
attending Loyola University in Chicago. Both Kenmore Hall and
Simpson Hall are located within the City limits of Chicago,
Illinois.

13. At all relevant times, Kenmore Hall and Simpson Hall have
each been a place of public accommodation within the meaning of 42
U.S.C. Sections 3601-3631 and are thus subject to the anti-
discrimination provisions at 42 U.S.C. 12182(a).

14. The construction of Simpson Hall was completed in 1991
after the passage of the ADA.

15. At all times from August 21, 2000 to the present,
defendant owned or leased the vehicles used for transportation of
students on the campus at Loyola.

16. At all relevant times the buses and other vehicles made
available by Loyola for transportation by students and faculty at
the Loyola campus have been a place of public accommodation within

the meaning of 42 U.S.C. Sections 3601-3631.
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 4 of 39 PagelD #:4

17. Plaintiff paid in full for a dormitory room at Simpson
Hall for the Fall, 2000 semester and the Spring 2001 semester at
Loyola including a pre-paid meal plan at Loyola cafeterias.

18. Plaintiff resided at defendant’s Simpson Living and
Learning Center (“Simpson Hall”) from 21-August-2000 while she
attended Loyola until January 24, 2001, when she was moved by
defendant to Kenmore Hall without Plaintiff’s consent, against her
will, and while she was not present. From January 24, 2001 until
on or about February 12, 2001, plaintiff resided at Kenmore Hall,
until defendant caused plaintiff to be forcibly removed from
Kenmore Hall without her consent onto the street.

19. At the time of such removal of plaintiff to the street,
defendant’ s actions caused plaintiff to lose all her clothes and
personal items in her room including her computer except for those
clothes she was wearing, such that plaintiff was limited to the
clothes she was wearing for living on the streets in the middle of
winter.

20. Defendant did not evict plaintiff from Kenmore Hall in
accordance with the laws of the City of Chicago relating to
eviction.

21. Plaintiff has a disability within the meaning of 28 CFR
104 and the Americans with Disabilities Act (the ADA) at 42 U.S.C.
12131(2) because her disability substantially limits her
performance of a major life activity. Specifically, the plaintiff
has hearing impairment, visual impairment, fibromyalgia syndrome,

osteoarthritis, hypertension, neurological ophtomological visual
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Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 5 of 39 PagelD #:5

impairment of diplopia and exophoria, morbid obesity, edema (leg
swelling), carpal tunnel syndrome and is mobility challenged.

22. Plaintiff’ s fibromyalgia syndrome, osteoarthritis, edema,
and morbid obesity impair her mobility to the extent that plaintiff
can only walk short distances with the aid of a service dog.

23. Plaintiff’ s fibromyalgia syndrome, osteoarthritis, edema,
morbid obesity and carpel tunnel syndrome impair her ability to use
bathroom facilities including the toilet, shower and bathtub and
mirror.

24. Plaintiff’ s carpel tunnel syndrome and osteoarthritis in
the hands prevents plaintiff from preparing handwritten notes, and
from typing papers and other homework.

25. Plaintiff’s hearing impairment impedes her ability to
listen to classroom lectures and impairs her ability to hear fire
alarms outside her dormitory room,

26. Since February 1, 1989, Plaintiff has been a person with
a disability within the meaning of Section 223 of the Social
Security Act (42 U.S.C. 423), and within the meaning of 42 U.S.C.
12102(2).

27. Plaintiff is a person with a disability within the
meaning of 42 U.S.C. 12131(2).

28. Plaintiff was a student at Loyola from August 21, 2000
through February 12, 2001, and seeks readmission as a student at

Loyola.
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 6 of 39 PagelD #:6

29. As a student at Loyola, plaintiff was required to submit
her medical records to Loyola for the purpose of obtaining
disability accommodations.

30. Plaintiff complied with the requirement that she submit
her medical records to Loyola by submitting medical records to Amy
Maggie Rodgers, ADA Coordinator for students with disabilities; Dr.
Lisa Kerr, Phd. Director of ADA Services for Students with
Disabilities; Dr. Linda Deanna, Director of Residence Life and
Dean; Dr. Dan Barns, Dean of Student Services.

31, Plaintiff is indigent and wholly dependant on public
assistance and meets the income requirements for eligibility for
low income housing.

32. Plaintiff has received social security disability
benefits in the form of supplemental security income since February
of 1989.

33. Loyola knew of plaintiff's status of eligibility to
receive disability payments from social security in September of
2001.

34, In July of 2000, Plaintiff while residing in the All
American Nursing Home, Chicago, I] prior to acceptance as a Loyola
University Institute for Paralegal Studies Students notified Loyola
of her disabilities.

35. Loyola received a discharge from the All American Nursing
Home's signed by Bharat Shah M.D., who gave the discharge papers

to Loyola with the list of medications in plaintiff's file.
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 7 of 39 PagelD #:7

36, Phot Luisiri, M.D., a Rheumatologist at the University
of Chicago, ordered a service dog for the plaintiff in 1996
Plaintiff’ s current physician, Dr. Bharat Shah confirmed the need
for a service dog for plaintif£’s disabilities.

37. In June, 2000, Plaintiff provided Loyola with medical
documentation, audio-gram tests results, and letters from
Plaintiff’ s doctors which verified Plaintiff’ s multiple
disabilities of: hearing impairment, neuro-opthomological visual
impairment and mobility impairment. Plaintiff’ s doctors made
recommendations to Loyola on behalf of plaintiff, their patient,
for suitable and appropriate auxiliary aides and ADA-accommodations
that would mitigate the effect of Plaintiff’s disabilities in
pursuit of an education.

38. In June, 2000, Plaintiff requested that Plaintiff’ s Dorm
Room and bathroom be totally in compliance with all the ADA
guidelines and regulations for a person with multiple disabilities
who was also hearing impaired and mobility challenged.

39. Prior to plaintiff’s acceptance of her admission to
Loyola, Loyola advised plaintiff that her living quarters at
Simpson Hall would comply with the ADA.

PLAINTIFF’ S REQUEST FOR DISABILITY ACCOMMODATIONS

40. Plaintiff’s multiple disabilities of: fibromyalgia
syndrome, morbid obesity, carpal tunnel syndrome, and severe osteo-
arthritis with bone spurs restrict plaintiff’ s mobility.

41. Plaintiff requested transportation accommodation including

the right to use the Loyola shuttle bus to transport Plaintiff
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 8 of 39 PagelD #:8

accompanied by he Service dog, from Simpson Ha’ bormitory located
at the Defendant’s Lake Shore Campus to Plaintiff’s classes at
Lewis Towers which were located at Defendant’s Water Tower campus
on Michigan Avenue located near Chicago’s Loop Business District.
Plaintiff also requested transportation accommodation during the
hours from 4:00 p.m, to 6:00 a.m. which Defendant Loyola University
had already routinely granted similarly situated able-bodied Loyola
University students through Defendant’s 8-RIDE VAN transportation
service,

42. At the time Loyola owned or leased a fleet of busses
which would accommodate plaintiff’ s request for accessibility.

43. The ADA requires that defendant's student transportation
be available to disabled students.

44. The ADA regulations require that transportation
accommodations allow medically prescribed service dogs to assist
the disabled while using such transportation.

45. Plaintiff uses a doctor prescribed service dog, a blue
merle collie, named Mr. Lex.

46. Plaintiff uses the service dog to carry items, such as
books, in a canine back pack. Plaintiff also uses the service dog
to access stairs and have the service dog retrieve items on the
fioor for plaintiff.

47. Plaintiff furnished certification papers to defendant for
the service dog on September 11, 2000. Loyola gave conditional
acceptance to the use of a service dog.

48. Loyola insisted on a certification from a rheumatologist

regarding her service dog.
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Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 9 of 39 PagelD #:9

49, pefenda - denied plaintiff the right’ ) use her service
dog on the bus on or about January 10, 2001.

50. Plaintiff’s service dog, Mr. Lex, is trained to bark
when a visitor is knocking at the dorm room door. Plaintiff was
disciplined for the barking by Mr. Lex when someone was at the
door.

51. An Australian Shepard, named “Rocky”, a pet dog owned by
Art Munins, an able bodied student at Loyola, lived next door to
Kenmore Hall. Rocky barked virtually all day and incident reports
were written up as to Rocky's nuisance barking. Plaintiff's
service dog, Mr. Lex, was trained to bark when people came to the
door due to plaintiff’s hearing impairment. Plaintiff was
disparately treated in that she was discriminated against by
Defendant, on the basis of that she was disciplined when her
service dog barked as trained to do when people knocked on the
plaintiff’ s door. The owner of Rocky, a dog that frequently barked,
was not disciplined.

52. Simpson Hall provided for mail delivery at the dorm
but Kenmore Hall did not.

53. At all times relevant to this complaint, Loyola had
officially closed Kenmore Hall to all student residents prior to
plaintiff’s forced admission against her will. At all times
relevant to this complaint, Kenmore Hall was not habitable in
accordance with the Chicago Municipal Ordinance Code for many
reasons including, but not limited to, the lack of smoke detectors,
the lack of heat, the lack of operating elevators, the lack of fire

extinguishers and general disrepair.
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 10 of 39 PagelD #:10

54. on ox xbout January 24, 2001, p \ntifé requested
accommodation for mail delivery after she was moved to Kenmore Hall
against her will.

55. On January 10, 2001 plaintiff pursued her rights to use
her dog on the shuttle bus by contacting the Cook County State's
attorney.

56. At the time Loyola moved plaintiff into Kenmore Hall, the
dormitory did not have heat that reliably worked, it did not have
working elevators, it did not have smoke detectors, it did not have
computer laboratories, it did not have cafeterias, and was under
construction at the time she was moved to Kenmore Hall.

57. Virtually all other students residing at dormitories at
Loyola had mail delivery to their dormitory.

58. Loyola refused to accommodate plaintiff’ s request for mail
delivery and required plaintif£ to retrieve her mail at Simpson
Hall, three blocke away.

59. Plaintiff has carpel tunnel syndrome and this disability
impairs plaintiff’ s ability to type and write notes by hand.

60. On or about December 15, 2000, Plaintiff requested that
Loyola provide a lap top computer with voice recognition software
as a disability accommodation.

61. The voice recognition lap top computer could receive
vocal input either from a taped class room session or directly from
the professors and print out verbatim class room notes and allow
plaintiff to have those notes.

62. Loyola denied plaintiff’s request to provide a voice

recognition computer.

10
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 11 of 39 PagelD #:11

63. hoyola . ‘ovided lap top computers (students without
disability if those students participated in Loyola’s athletic
program.

64. Loyola provided stationary computers at the dormitory at
Simpson Hall for use by students.

65. Those computers did not contain voice recognition
software which would enable plaintiff to prepare her papers and
home work.

66. On or about December 15, 2000 Plaintiff requested that
defendant add voice recognition software to one of the computers in
Simpson Hall which was available to students.

67. Loyola declined plaintiff’s request to add voice
recognition software to one of the stationary computers at Simpson
Hall.

68. On information and belief, the voice recognition software
that plaintiff requested for the stationary computer would have
cost under $100.00.

69. Although plaintiff was indigent living on her social
security disability check of about $500 a month, she offered to pay
for the voice recognition software if Loyola would allow her to
install that software into the computer at Simpson Hall.

70. Loyola denied plaintiff’s request that plaintiff be
allowed to pay for and have installed the voice recognition
software.

71. lLoyola’s denial of voice recognition software either in
the form of a lap top computer or a stationary computer effectively
prevented plaintiff from meeting her course load at Loyola. The
voice recognition software would have allowed plaintiff to prepare

11
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 12 of 39 PagelD #:12

papers and homewo. which her disability of car, i tunnel syndrome
prevented,

72. Plaintiff submitted to Loyola the recommendations from
doctors who stated that a voice recognition computer would assist
plaintiff in accommodating her hearing impairment disability. Her
hearing impairment made it difficult for plaintiff to hear the
class room lectures, and her carpel tunnel syndrome disability
prevented her from taking notes, from preparing homework and from
preparing papers without voice recognition software.

73. On or about December 1, 2000 Plaintiff requested a visual
fire alarm and a TTD text phone inside her dorm room at Simpson
Hall. Later when plaintiff was moved to Kenmore Hall, she
requested a TTD text phone and a visual fire alarm in Kenmore Hall.

74. The ADA standards require that a permanent audible and
visual emergency warning system be installed in all adaptable
dormitory rooms on an as needed basis at the request of an
environmentally limited occupant. The visual emergency warning
system for the hearing impaired occupant shall be arranged so that
the flashing light beam is visible in all room of the dwelling
unit.

75. Loyola refused to equip plaintiff’ s room in Simpson Hall
and in Kenmore Hall with a visual fire alarm or a TTD text phone.

76. The ADA requires that the defendant furnish for hearing
impaired students a TTD text phone and a visual fire alarm inside
the hearing impaired person's dormitory room at all times.

77. Plaintiff was especially concerned regarding fire because
Loyola permitted students to burn candles in their dorm rooms,
without discipline and this practice created a fire hazard.

12
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 13 of 39 PagelD #:13

Moreover, plainti. was mobility impaired and . acuation from the
fifth floor would have been difficult for plaintiff without an
elevator which would not be in operation during a fire.

78. At all relevant times to this complaint, defendant did
not have an area of rescue assistance at Simpson Hall in the event
of a fire.

79. On or about December 1, 2000, Plaintiff requested an area
of rescue assistance be available in the event of a fire at Simpson
Hall.

80. Defendant refused to provide an area of rescue assistance
at Simpson Hall.

81. On or about December 1, 2000, Plaintiff requested a power
assisted door at Simpson Hall to assist in opening and closing the
door to her dorm room. Defendant refused to provide a power
assisted door at Simpson Hall.

82. On or about December 1, 2000, Plaintiff requested that
the bathroom in Simpson Hall provide disability accommodations for
her that comply with the ADA Accessibility Standards {See 28 CFR
Appendix A to Part 36) as follows:

a. That the bathroom contain a mirror tilt meeting the ADA
Specification Standards;

b. That the toilet stall available to plaintiff be widened to
ADA Specification Standards because it was too narrow to be
handicapped accessible.

Cc. That the toilet contain hand bars pursuant to ADA
Accessibility Specification Standards;

d,. That the toilet contain hand rails pursuant to ADA
Accessibility Specification Standards;

13
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 14 of 39 PagelD #:14

e. That the shower stall be widened pursuant to ADA
Accessibility Specification Standards to accommodate her
disability;

£. That the shower stall provide a seat pursuant to ADA
Accessibility Specification Standards;

g» That the shower stall provide a soap holder pursuant to
ADA Accessibility Specification Standards;

h. That the shower provide a sixty-three inch hose with a
hose with a shower head pursuant to ADA Accessibility Specification
Standards;

i. That the shower stall be furbished with ADA-compliant
bathroom hardware hot and cold levers pursuant to ADA Accessibility
Specification Standards.

83. At all relevant times to this Complaint, defendant did
not have the following at either Simpson Hall or Kenmore Hall:

a. A bathroom containing a mirror tilt meeting the ADA
Specification Standards;

b. A toilet stall available to plaintiff at a width meeting
ADA Specification Standards;

c. A toilet that contained hand bars pursuant to ADA
Accessibility Specification Standards;

d. A toilet that contained hand rails pursuant to ADA
Accessibility Specification Standards;

e. A shower with a width pursuant to ADA Accessibility
Specifications Standards;

£. A shower stall with a seat pursuant to ADA Accessibility
Specification Standards;

14
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 15 of 39 PagelD #:15

g. A shower stall with a soap holder pursuant to ADA
Accessibility Specification Standards;

h. A shower with a sixty-three inch hose with a hose and
shower head pursuant to ADA Accessibility Specification Standards;

i. A shower stall furbished with ADA-compliant bathroom
hardware hot and cold levers pursuant to APA Accessibility
Specification Standards.

84. On or about December 1, 2000, Plaintiff gave defendants a
copy of 28 CFR .Ch.i (7-1-96 Edition) Pt. 36, to each of the
following employees of the Defendant: Amy Maggie Rogers, to Dr.
Liga Kerr, Phd. and to the Director of Residence Life and Dean of
Students, Dr. Linda Deanna, PhD.

85. On or about December 1, 2000, Plaintiff gave defendants
a copy of The Americans with Disabilities Act, Title II Technical
Assistance Manual published November 1993.

86. On or about December 1, 2000, Plaintiff gave defendant a
copy of ADA Compliance Materials pamphlet entitled “Areas of Rescue
Assistance ADAAG 4.3.11".

87. On or about December 1, 2000, Plaintiff gave defendant a
copy of ADA Compliance Materials pamphlet entitled “Toilet Stalls
ADAAG 4.17".

88. On or about December 1, 2000, Plaintiff gave defendant a
copy of ADA Compliance Materials pamphlet entitled “Accessible
Route ADAAG 4.3",

89. On or about December 1, 2000, Plaintiff also gave a copy
of,” THE ADA COMPLIANT SCHOOL “ which is published by the U.S&.
Department of Justice-ADA Office of Civil Rights and is an ADA-

15
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 16 of 39 PagelD #:16

regulations handbook for a college or university’ s compliance with
the ADA to each of the following employees cf the Defendant: Amy
Maggie Rogers, to Dr. Lisa Kerr, Phd and to the Director of
Residence Life and Dean of Students, Dr. Linda Deanna, PhD.

90. Loyola was required to meet the bathroom accessibility
requirements. 56 Fed Reg. 35464, 35466. (To be codified at 36 CFR
pt 1191 Sections 4.1.2(6), 4.1.3(11).

91. On or about December 15, 2000, Plaintiff requested
disability accommodations at the Simpson Hall cafeteria as required
by the ADA Accessibility Standards (see 28 CFR Appendix A to Part
36) including but not limited to a handle on the juice dispenser.

92. On or about December 1, 2000, defendant’s cafeteria at
Simpson Hall did not meet the following ADA Accessibility
Standards:

a. wheel chair accessibility;

b. a handle on the juice dispenser; and

c. tray slides mounted no higher than 34 inches above the
floor.

93. On or about December 1, 2000, Plaintiff requested
expedited check out in the cafeteria due to the difficulty she had
standing in line as required by the ADA Accessibility Guidelines.

94, Plaintiff had difficulty standing for long period due to
her morbid obesity and her fibromyalgia.

95. Loyola refused to accommodate plaintiff’s request for an

expedited check out in the cafeteria line.

16
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 17 of 39 PagelD #:17

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96. When defendant placed plaintiff in a room at Kenmore Hail,
the bath tub provided for plaintiff's use did not comply with the
ADA Accessibility Guidelines for the following reasons:

a. The bath tub was too small;

b. The bath tub did not have the required seat;

c. The bath tub did not have the required hand rails.

97. Immediately after being moved by the defendant into
Kenmore Hall, Plaintiff requested disability accommodations meeting
the ADA Accessibility Guidelines for the bath tub in Kenmore Hall
so that the bath tub would be the required size, have the required
seat and have the required handrails.

98. Plaintiff needed the bath tub disability accommodations
at Kenmore Hall because of her mobility impairments.

99. Loyola refused te accommodate plaintiff’s request for
disability accommodations for the bath tub at Kenmore Hall.

100. Simpson Hall and Kenmore Hall each had more than 100
dormitory rooms.

101. The ADA Administrative Standards require with respect to
Hotel, motels, dormitories, and other establishments: Four percent
of the first 100 rooms and approximately two percent of rooms in
excess of 100 must be accessible to both persons with hearing
impairments (i.@. contain visual alarms, visual notification
devices, volume control telephones and an accessible electrical
outlet for a TDD text telephone) and to persons with mobility
impairment. Moreover, a similar percentage of additional rooms
must be accessible to persons with hearing impairments. En
addition, where there are more than 50 rooms, approximately one

17
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 18 of 39 PagelD #:18

percent of rooms must be accessible with a special roll-in transfer
shower. Sections 9.1-9.4)

102. In restaurants, generally all dining areas and five
percent of fixed tables (but not less than one) must be accessible.

103. Every public and common use bathroom must be handicap
accessible. Generally only one stall must be accessible (standard
five by five feet). When there are six or more stalls, there must
be one accessible stall and one stall that is three feet wide
Section 4.1.3(11); 4.22.4).

104. Plaintiff was refused full and equal enjoyment or was
denied the opportunity to participate in or benefit from services
at Loyola because of her disability.

105. Plaintiff was denied reasonable accommodations because of
defendant’s failure to modify policies, practices, or procedures,
when such modifications were necessary to provide goods, services,
and accommodations to individuals with disabilities.

106. Plaintiff was denied reasonable accommodations when she
was placed in Kenmore Hall which was under construction and unfit
for habitation at the time plaintiff was placed in the dormitory.

107. Loyola denied plaintiff's request for disability
accommodation regarding transportation with her service dog until
January 23, 2001, when Loyola purported to grant disability
accommodation. However, before Loyola actually had to implement
any of the proposed disability accommodations, Loyola expelled

plaintiff on or about January 24, 2001.

18
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 19 of 39 PagelD #:19

108. Defendant’ s actions constitute a policy that prohibits
individuals with disabilities, namely plaintiff, from enjoying a
dormitory with disability accommodations and thus preventing
plaintiff from enjoying the advantages and benefits of a public
accommodation and their attempts to enforce such a policy violate
the ADA.

109. Defendant’s actions of expelling plaintiff rather than
providing disability accommodations prevented plaintiff from
enjoying an education at Loyola.

110. Plaintiff seeks readmission to Loyola as a student in
paralegal studies,

111L. There is no plain and adequate remedy at law.

PRAYER FOR RELIEF

WHEREFORE Plaintiff respectfully that this court:

a. Grant a temporary and permanent injunction enjoining
defendants, their officers, successors, assigns, and all persons in
active concert or participation with them, from engaging in any
practice or activity which discriminates on the basis of disability
and specifically from attempting to ban plaintiff from pursuing
academic studies directly or indirectly;

b. Order defendant to reinstate plaintiff as a student at Loyola
with full disability accommodation made available to her including
a computer with voice recognition software and the ability to
prepare typed class room notes;

Cc. Order defendants to institute and carry out policies,
practices, and programe which provide equal opportunities for
individuals with disabilities;

19
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 20 of 39 PagelD #:20

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d. Award plaintiff her costs and reasonable attorneys fees as
provided by the ADA, 42 U.S.C. Sections 12188(a)(1), 12205 [ADA
Sections 308(a) (1), 505];

e, Grant such further relief as the Court deems just and
proper.

COUNT II
PLAINTIFF’ S CLAIM UNDER SECTION 504 OF
THE REHABILITATION ACT OF 1973

112. Plaintiff incorporates paragraphs 1 through 111 of Count
I in this Count II by reference and re-alleges each paragraph in
this Count II,

113. Count II is an action against defendant under Section 504
of the Rehabilitation Act of 1973, 29 U.S.C. 701 et seq. for its
wilful discrimination against plaintiff to deny her access to
Loyola as a student because of her disabilities and corresponding
need for reasonable accommodation and Loyola’s wilful retaliation
against Kenny for her claims and assertions of her need for
disability accommodations.

114. 29 U.S.C. 794(a) provides in relevant part, “No otherwise
qualified individual with a disability in the United States, as
defined in section 706(20) of this title, shall, solely by reason
of her or his disability, be excluded from the participation in, be
denied the benefits of, or be subjected to discrimination under any
program or activity receiving Federal financial assistance or under
any program of activity conducted by any Executive agency or by the
United States Postal Service. The head of each such agency shall
promulgate such regulations as may be necessary to carry out the

20
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 21 of 39 PagelD #:21

amendments to this section made by the Rehabilitation Comprehensive
Services, and Developmental Disabilities Act of 1978.”

115. Jurisdiction of this Court for Count II is invoked
pursuant to 29 U.S.C. 701 et seq, and 28 CFR 36.501(a).

116. Loyola is a college, university, or other post secondary
institution, or a public system of higher education.

117. Loyola receives federal Financial Assistance, including
but not limited to federal funding assistance for educational loans
for certain students attending Loyola.

118. Plaintiff has a disability within the meaning of 28 CFR
104; Section 504 of the Rehabilitation Act of 1973 because her
disability substantially limits her performance of a major life
activity. Specifically, the plaintiff has hearing impairment,
visual impairment, fibromyalgia syndrome, osteoarthritis,
hypertension, neurological ophtomological visual impairment of
diplopia and exophoria, morbid obesity, edema (leg swelling),
carpal tunnel syndrome and is mobility challenged.

119. Plaintiff is an otherwise qualified handicapped person
within the meaning of 29 U.S.C. 794.

120. Plaintiff met all of the academic requirements for
admission to Loyola for the purpose of pursuing paralegal studies.

121, Plaintiff can meet the paralegal program’ s requirements
at Loyola if its program is modified to accommodate plaintiff by
providing plaintiff with a computer capable of using voice
recognition software and a recording of class room lectures,

whether by tape recorder or a voice recognition computer.

21
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 22 of 39 PagelD #:22

122. Plaintiff’s hearing impairment prevents her from
adequately hearing classroom lectures without an accommodation such
as a recording device that can later be transcribed.

123. Plaintiff's carpel tunnel syndrome prevents plaintiff
from hand-writing or typing required homework and papers and from
taking classroom notes.

124, Plaintiff can meet the paralegal program’ s requirements
at Loyola if its program is modified to accommodate plaintiff by
providing plaintiff with a computer capable using voice recognition
software and a recording of class room lectures, whether by tape
recorder or a voice recognition computer.

125. Plaintiff submitted doctors reports to defendant
detailing that she needed the accommodation of a voice recognition
computer.

126. Defendant’s denial of an accommodation that permits
plaintiff to use voice recognition software in effect denied
plaintiff the ability to participate in the educational program for
which she was enrolled at Loyola because of her hearing impairment
and her inability due to carpel tunnel syndrome, to take extensive
handwritten notes or to type extensively.

127. Plaintiff is otherwise able to meet the requirements of
the curriculum at Loyola, despite her disabilities.

128. After disputing plaintiff’s right to disability
accommodation throughout the academic semester beginning August
2000, Loyola issued a letter on January 23, 2001 advising plaintiff

that full accommodations would be made.

22
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 23 of 39 PagelD #:23

129, On January 24, 2001, Loyola expelled plaintiff as a

student,

130. Other non-disabled students were provided the basis for
the expulsion charges against them and given an opportunity to
defend themselves.

131. When Loyola provided Kenny with a notice of allegations
against her, they did not indicate who made the allegations or the
specific allegations of the charges against prior to her expulsion.

132. Kenny was not given the right to review the charges
against her at a time when she was not ill with a communicable
disease.

133. Kenny’s appeal was conducted on or about February 12,
2001 at a time she could not attend due to her communicable disease
when the was under a doctors care.

134. Kenny’s doctors, Sandra Hare, M.D. and Bharat Shah, M.D.
notified Loyola of Kenny’s illness prior to the hearing dates.

135. Ms. Kenny was not given a chance to attend the hearing
on January 24, 2001, because she was i11 on that date, and was not
able to attend the hearing because she had a communicable disease.

136. Loyola never offered Kenny a chance to defend the reasons
for expulsion,

137. Loyola treated Kenny differently from other able bodied
students under threat of expulsion in that other able bodies
Students were advised of the changes against them and given time to

prepare a defense to the charges.

23
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 24 of 39 PagelD #:24

138. In fact the charges against Kenny were false and the
real reason for expelling Kenny was to avoid the disability
accommodations required by the ADA to accommodate Kenny.

139. Loyola treated plaintiff differently from other able
bodied students under threat of expulsion in that other able bodies
students were advised of the changes against them and given time to
prepare a defense to the charges.

140. Defendant’s expulsion of plaintiff was a retaliation
against the plaintiff because she requested extensive disability
accommodation,

141. Defendant expelled plaintiff in order to avoid providing
disability accommodations as plaintiff requested.

142. When plaintiff was expelled, she became homeless, and
all her property was thrown out on the street, including her
medicine and clothes during the winter.

143. Plaintiff was limited to one pair of clothes for the
winter after she was locked out of Kenmore Hall and her clothes
stolen at the point of their removal from Kenmore Hall.

144, Defendant’s failure to provide access to people with
disabilities to facilities and programs funded with federal monies
so as to offer them benefits equal to that offered to people
without disabilities is a violation of Section 504 of the
Rehabilitation Act of 1973.

145. As a proximate result of Defendant’s wrongful removal
and lockout of plaintiff from Simpson Hall and her removal to

Kenmore Hall, plaintiff suffered compensatory damages as follows:

24
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 25 of 39 PagelD #:25

a. She was denied the right to live in a habitable building
for which she had paid and lost the money which she had paid for
accommodations at Simpson Hall;

b. She was required to live at Kenmore Hall which was without
adequate heat, without operating elevators, without mail delivery;
without fire alarms and smoke detectors, and without an on site
cafeteria;

ec. she was denied convenient access to computer technology
for her studies; and

d. As a result of being without adequate heat in mid winter,
Plaintiff endured extreme mental stress and cold.

146. As a proximate result of defendant’s wrongful removal
and lockout from Kenmore Hall, Plaintiff suffered compensatory
damages as follows:

a. she was denied living accommodations and food which she
paid during the Spring semester of 2001 and had to live on the
street except for about two weeks when charitable organizations
advanced funds for accommodations and when she was hospitalized due
to stress, cold and hunger caused by the defendant;

b. suffered financial loss when she repaid a church out of
her social security check after the church lent her funds for
accommodations for a short period of time;

c. Suffered from the logs of food when the defendant refused
to provide food for which she had paid;

d. suffered extreme stress, both mentally and physically as
a result of her being forced to live on the street in the middie of
winter;

25
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 26 of 39 PagelD #:26

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e. suffered illness and hospitalization expenses in the
Edgewater Hospital due to the stress of cold, hunger and
uncertainty;

£. due to the cold, hunger and extreme physical and mental
stress caused by defendant wrongful expulsion and removal of
plaintiff from her living accommodations, her heart condition has
deteriorated and she will suffer from additional heart pathology
complications and a shortening of her life expectancy;

g. due to the cold, hunger and extreme physical and mental
stress caused by defendant’s wrongful expulsion and removal of
plaintiff from her living accommodations, her fybromylagia and
osteoarthritis condition has deteriorated and she will suffer from
additional mobility impairment complications, and an increased
inability to use her hands and a shortening of her life expectancy;

h. she was denied the ability to complete her education in
paralegal studies;

i. she was denied job opportunities available her with an
education and degree as a paralegal;

j. she was denied her personal property, including a
refrigerator, her clothes and medicine for the winter of 2001 and
went without medicine and clothes for the winter when defendant
took these items during her removal from Kenmore Hall.

k. as a result of Plaintiff's removal from Kenmore Hall,
Plaintiff incurred physical damage to her person, and has suffered
extreme physical pain and mental suffering.

147. As a result of Plaintiff's expulsion as a student and
removal from the dormitory, Plaintiff incurred physical damage to

26
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 27 of 39 PagelD #:27

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her, and has incurred physical pain and severe suffering, and
severe mental anguish.

148. The defendant acted intentionally, wantonly, wilfully and
in reckless disregard of the consequences upon Plaintiff by
expelling plaintiff and by refusing to allow her to use voice
recognition software in the computers made available to her.

149. The defendant knew or should have known that as a result
if its wrongful and outrageous conduct, Plaintiff has suffered and
will suffer in the future, emotional and mental anguish,
humiliation, and serious physical stress.

PRAYER FOR RELIEF

WHEREFORE Plaintiff respectfully that this court:

a. Grant a temporary and permanent injunction enjoining
defendants, their officers, successors, assigns, and all persons in
active concert or participation with them, from engaging in any
practice or activity which discriminates on the basis of disability
and specifically from attempting to ban plaintiff from pursuing
academic studies directly or indirectly;

b. Order defendant to reinstate plaintiff as a student at
Loyola with full disability accommodation made available to her
including a computer with voice recognition software and the
ability to prepare typed class room notes on the basis of voice
recognition;

c. Order defendants to institute and carry out policies,
practices, and programs which provide equal opportunities for

individuals with disabilities;

27
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Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 28 of 39 PagelD #:28

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d. award plaintiff her compensatory damages including an
amount equal to her projected loss of income due to the defendant’ s
wrongful expulsion of plaintifi and denial of disability
accommodation, a refund of plaintiff’s tuition room and board
wrongfully obtained due to defendant’s wrongful expulsion of
plaintiff, compensatory damages for the property of the plaintiff
taken by the defendant when plaintiff was removed from Kenmore
Hall; and compensatory damages for extreme physical and mental
pain and suffering due to defendant’s wrongful conduct

e. Award plaintiff punitive damages in an amount sufficient
to deter defendant from its wilful violations against the plaintiff
and other students who suffer from disability.

£. Award plaintiff her attorneys fees and costs as provided
by law; and

g. for such other relief that the Court in its discretion may
deem reasonable and appropriate.

JURY TRIAL DEMANDED

The Plaintiff requests a jury trial on all questions of fact
raised by the Complaint.

COUNT III

1. Count III is an action against defendant under Title 5 City
of Chicago Municipal Ordinance Code Section 12-150, for retaliation
by the defendant against the plaintiff for plaintiff’ s complaints
of building, housing and health violations of the City of Chicago
Municipal Code relating to the defendant’ s premises at Simpson Hall

and Kenmore Hall.

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Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 29 of 39 PagelD #:29

2. Plaintiff incorporates paragraphs 1-9, 12, 17-27, 33-40;
52-54; 73-106; 108-110 in this Count III as if fully stated herein
as paragraphs 3-71.

72. Jurisdiction for this Count III is invoked pursuant to
supplemental jurisdiction pursuant to 28 U.S.C. 1367(a).

73. The claims alleged in this Count III are so related to
the claims under Counts I and II, which have original jurisdiction
within the District Courts, that they form part of the same case or
controversy.

74. On or about August 24, 2000, three days after plaintiff
moved into Simpson Hall, plaintiff requested that defendant repair
Simpson Hall so that it would meet ADA Standards.

75. On or about December 1, 2000, Plaintiff complained about
the lack of ADA compliance at Simpson Hall and asked that Loyola
make repairs to Simpson Hall so that it would be ADA compliant.

76. On or about January 23, 2001, Plaintiff complained in
geod faith to the City of Chicago Department of Building
inspections officials regarding the failure of Kenmore Hall to meet
the City of Chicago standards for habitable living condition
including, but not limited to, the lack of heat during winter,
pealing plaster in the walls, the lack of operating elevators, the
lack of smoke detectors, the lack of sound fire alarms, the lack of
visual fire alarms and the failure of Kenmore Hall to meet the ADA
Standards for the disabled.

77. Plaintiff requested that repairs by made to Kenmore Hall
comply with the City of Chicago Municipal Code and the ADA
Standards.

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Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 30 of 39 PagelD #:30

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78. At the time defendant moved plaintiff into Kenmore Hall,
Kenmore Hall was under construction for rehabilitation and the
defendant did not have authority from the City of Chicago to open
Kenmore Hall to occupancy.

79. Shortly following plaintiff’ s complaint to the City of
Chicago, on or about February 12, 2001, defendant expelled
Plaintiff and removed plaintiff from Kenmore Hall for one or more
of the following reasons:

a. in retaliation for plaintiff’ s complaint to the City of
Chicago’s department of Building Inspections about defendant’ s
violations of the City of Chicago building, housing and health
municipal codes applying to units leased for habitation in the City
of Chicago.

b. for requesting that the defendant repair Simpson Hall and
Kenmore Hall in accordance with the requirements of the City of
Chicago Municipal Code; and

c. for requesting that the defendant repair Simpson Hall and
Kenmore Hall in accordance with the requirements of the ADA
Standards.

80. Title 5, Section 12-150 prohibits a landlord from taking
retaliatory action against a tenant, for complaint of a building,
housing health or similar code violation, or requested the landlord
to make repairs to the premises as required by a building code,
health ordinance, other regulation or the residential agreement or

from exercising any remedy provided by law.

30
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 31 of 39 PagelD #:31

81. As a proximate result of Defendant’ s wrongful removal and
lockout of plaintiff from Simpson Hall and her removal to Kenmore
Hall, plaintiff suffered compensatory damages as follows:

a. She was denied the right to live in a habitable building
for which she had paid and lost the money which she had paid for
accommodations at Simpson Hall;

b. She was required to live without adequate heat, without
operating elevators, without mail delivery; without fire alarms and
eamoke detectors, and without an on site cafeteria;

c. she was denied convenient access to computer technology
for her studies; and

dad. As a result of being without adequate heat in mid winter,
plaintiff endured extreme mental stress and cold.

82. As a proximate result of defendant’ s wrongful expulsion
of plaintiff and wrongful removal from Kenmore Hall, Plaintiff
suffered compensatory damages as follows:

a. she was denied accommodations and food which she paid
during the Spring semester of 2001 and had to live on the street
except for those occasions when charitable organizations advanced
funds for accommodations;

b. suffered financial loss when she repaid a church out of
her social security check after the church lent her funds for
accommodations for a short period of time;

c. Suffered from the loss of food when the defendant

refused to provide food for which she had paid;

31
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Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 32 of 39 PagelD #:32

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dad. suffered extreme stress, both mentally and physically as
a result of her being forced to live on the street in the middle
of winter;

e. suffered illness and hospitalization expenses in the
Edgewater Hospital due to the stress of cold, hunger and
uncertainty;

£. she was denied the ability to complete her education in
paralegal studies;

g- she was denied job opportunities available her with an
education and degree as a paralegal;

h. she was denied her personal property, including a
refrigerator, her clothes and medicine for the winter of 2001 and
went without medicine and clothes for the winter when defendant
took these items during her removal from Kenmore Hall.

PRAYER FOR RELIEF

Wherefore plaintiff prays that the Court make the following
award against the defendant:

a. award plaintiff twice her compensatory damages pursuant
to Title 5 Section 12-150 of the City of Chicago Municipal Code,
including an amount equal to her projected loss of income due to
the defendant’s wrongful expulsion of plaintiff and denial of
disability accommodation, a refund of plaintiff’s tuition room
and board wrongfully obtained due to defendant’s wrongful
expulsion of plaintiff, compensatory damages for the property of
the plaintiff taken by the defendant when plaintiff was removed

from Kenmore Hall; and compensatory damages for extreme physical

32
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Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 33 of 39 PagelD #:33

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and mental pain and suffering due to defendant’s wrongful
conduct.

b. Award plaintiff punitive damages in an amount sufficient
to deter defendant from its wilful violations against the
plaintiff and other students who have been wrongfully retaliated
against for complaining about building, housing and health code
violations and for asking for repairs and ADA accommodations.

c. Award plaintiff her attorneys fees and costs as provided
by law and Title 5 Section 12-150 of the City of Chicago
Municipal Code.

dad. for such other relief that the Court in its discretion
may deem reasonable and appropriate.

JURY TRIAL DEMANDED
The Plaintiff requests a jury trial on all questions of fact

raised by the Complaint.

COUNT IV
INTERRUPTION OF TENANT OCCUPANCY BY LANDLORD

1. Count IV ig an action against defendant under Title 5
City of Chicago Municipal Ordinance Code Section 12-160, for the
unlawful ousting or disposing of plaintiff from Simpson Halli and
Kenmore Hall without authority of law by removing plaintiff’ s
possessions and locking her door,

2. Jurisdiction for this Count IV is invoked pursuant to
supplemental jurisdiction pursuant to 28 U.S.C. 1367(a).

3. The claims alleged in this Count III are so related to
the claims under Counts I and II, which have original

33
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 34 of 39 PagelD #:34

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jurisdiction within the District Courts, that they form part of
the same case or controversy.

4, Plaintiff, Maureen Therese Kenny, ("Kenny") is a
citizen of the United States and is a resident of Cook County,

State of Illinois.

5. Loyola University of Chicago does business in the
Northern District of Illinois, maintains Simpson Hall and Kenmore
Hall as residence dormitories for students in the Northern
District of Illinois, and is the District in which the Loyola
maintains its principal administrative business office.

6. At all relevant times Loyola has continuously been
engaged in an industry affecting commerce within the meaning of
Section 101(5) of the ADA, 42 U.S.C. Section 12181, and Section
107(7) of the ADA, 42 U.S.C. Section 12117(7), which incorporates
by reference Sections 701(g) and (h) of Title VII, 42 U.S.C.
Section 2000e(g) and (h) covered entity under Section 101(2) of
the ADA, 42 U.S.C. Section 12111(2).

7. At all relevant times, Loyola has been a post graduate
private school or other place of education within the meaning of
42 U.S.C. Section 12181(7) (3).

8. At all times during from August 21, 2000 to the
present, defendant owned or leased Simpson Hall and Kenmore Hall
for the purpose of providing dormitory living quarters for
students attending Loyola University in Chicago. Both Kenmore
Hall and Simpson Hall are located within the City limits of

Chicago, Illinois,

34
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 35 of 39 PagelD #:35

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9. Plaintiff paid in full for a dormitory room at Simpson
Hall for the Fall, 2000 semester and the Spring 2001 semester at
Loyola including a pre-paid meal plan at Loyola cafeterias.

10. Plaintiff resided at defendant’s Simpson Living and
Learning Center (“Simpson Hall”) from August 21, 2000 while she
attended Loyola as a student until January 24, 2001, when she was
moved by defendant to Kenmore Hall without Plaintiff’ s consent,
against her will, and while she was not present. From January
24, 2001 until on or about February 12, 2001, plaintiff resided
at Kenmore Hall, until defendant caused plaintiff to be forcibly
removed from Kenmore Hall without her consent onto the street.

11. Defendant did not evict plaintiff from Kenmore Hall in
accordance with the laws of the City of Chicago relating to
eviction.

12. On or about January 24, 2001, Defendant removed
plaintiff’ s personal belongings from Simpson Hall to Kenmore Hall
against her will and without her knowledge.

13. On or about January 24, 2001, Defendant barred
plaintiff from entering Simpson Hall by changing the lock on her
door.

14. On or about February 12, 2001, defendant removed
plaintiff’ s personal property from Kenmore Hall, took possession
of those properties and never returned those properties to the
plaintiff.

13. On or about January 24, 2001, Defendant barred
plaintiff from entering Simpson Hall by changing the lock on her
door.

35
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 36 of 39 PagelD #:36

14. Defendant’s removal of plaintiff's property from
Simpson Hall to Kenmore Hall was without authority of law.

15. Defendant’ s locking out of plaintiff from her living
quarters at Simpson Hall was without authority of law.

16. Defendant’s removal of plaintiff’ s property from
Kenmore Hall was without authority of law.

17. Defendant’s locking out of plaintiff from her living
quarters at Kenmore Hall was without authority of law.

18. Defendant’ s wrongful interruption of plaintiff's
tenancy at Simpson Hall and Kenmore Hall is in violation of Title
5 of Section 12-160 of the City of Chicago Municipal Code.

19. As a proximate result of Defendant’s wrongful removal
of plaintiff from Simpson Hall to Kenmore Hall plaintiff suffered
compensatory damages as follows:

a. She was denied the right to live in a habitable building
for which she had paid and lost the money which she had paid for
accommodations at Simpson Hall;

b. She was required to live without adequate heat, without
operating elevators, without mail delivery; without fire alarms
and smoke detectors, and without an on site cafeteria;

c. she was denied convenient access to computer technology
for her studies; and

d. As a result of being without adequate heat in mid
winter, plaintiff endured extreme mental stress and cold.

20. As a proximate result of defendant’s wrongful removal
of plaintiff£ from Kenmore Hall, Plaintiff suffered compensatory
damages as follows:

36
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 37 of 39 PagelD #:37

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a. she was denied accommodations and food which she paid
during the Spring semester of 2001 and had to live on the street
except for those about two weeks when charitable organizations
advanced funds for accommodations and when she was
hospitalization due to stress, cold and hunger cauged by the
defendant;

b. suffered financial loss when she repaid a church out of
her social security check after the church lent her funds for
accommodations at a hotel in February of 2001, for approximately
1-2 weeks;

c. Suffered extreme hunger from the loss of food when the
defendant refused to provide food for which she had paid;

d. suffered extreme stress, both mentally and physically as
a result of her being forced to live on the street in the middle
of winter;

e. suffered illness and hospitalization expenses in the
Edgewater Hospital due to the stress of cold, hunger and
uncertainty;

£. due to the cold, hunger and extreme physical and mental
stress caused by defendant’s wrongful removal of plaintiff, her
heart condition has deteriorated and she will suffer from
additional heart pathology complications and a shortening of her
life expectancy;

g. due to the cold, hunger and extreme physical and mental
stress caused by defendant’s wrongful removal of plaintiff, her
fybromylagia and osteoarthritis condition has deteriorated and
she will suffer from additional mobility impairment

37
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 38 of 39 PagelID #:38

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complications, and an increased inability to use her hands and a
shortening of her life expectancy;

h. she was denied her personal property, including a
refrigerator, her clothes and medicine for the winter of 2001 and
went without medicine and clothes for the winter when defendant
took these items during her removal from Kenmore Hall.

i. Plaintiff has incurred physical damage to her, and has
endured physical pain and extreme and severe suffering, and
extreme and severe mental anguish.

PRAYER FOR RELIEF

Wherefore plaintiff prays that the Court make the following
award against the defendant:

a. award plaintiff twice her compensatory damages as
provided by Title 5 Section 12-160 of the Chicago Municipal Code
including an amount equal to her projected loss of income due to
the defendant’s wrongful expulsion of plaintiff and denial of
disability accommodation, a refund of plaintiff’s tuition room
and board wrongfully obtained due to defendant’ s wrongful
expulsion of plaintiff, compensatory damages for the property of
the plaintiff taken by the defendant when plaintiff was removed
from Kenmore Hall; and compensatory damages for extreme physical
and mental pain and suffering due to defendant’s wrongful conduct

b. Award plaintiff punitive damages in an amount sufficient
to deter defendant from its wilful violations against the
plaintiff and other students who have been wrongfully removed

from living accommodations by the defendant.

38
Case: 1:02-cv-01006 Document #: 1 Filed: 02/11/02 Page 39-of 39 PagelD #:39

c. Award plaintiff her attorneys fees and costs as provided
by law; and Title 5 Section 12-180 of the City of Chicago
Municipal Code; and

d. for such other relief that the Court in its discretion
may deem reasonable and appropriate.

JURY TRIAL DEMANDED
The Plaintiff requests a jury trial on all questions of fact

raised by the Complaint.

MAUREEN THERESE KENNY

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